UNITED STATES BANKRUPTCY,
COURT NORTHERN DISTRICT OF7 AUG 23° per 0
OHIO EASTERN DIVISION

In re:

Squirrels Research Labs LLC,

Chapter 11

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Debtor. Judge Tiiara N.A. Patton

REPLY TO OBJECTION TO MOTION FOR RECONSIDERATION
OF PAUL BILLINGER TO THE ORDER APPROVING
ALLOCATION OF PROCEEDS OF COMPROMISE AND
SETTLEMENT BETWEEN DEBTORS AND CINCINNATI
INSURANCE COMPANY (DOC. 376)
Paul Billinger, Movant, respectfully submits this reply to the objection filed by Squirrels
Research Labs LLC and The Midwest Data Company LLC (collectively, the "Debtors")

regarding the Motion for Reconsideration of the Order Approving Allocation of Proceeds of

Compromise and Settlement Between Debtors and Cincinnati Insurance Company.

1. The Movant seeks reconsideration of the Court's order based on the necessity to
address substantive issues overlooked in the initial proceedings. The Debtors’ objection fails to
acknowledge key arguments and evidence that warrant reconsideration.

2. In paragraph 3, Debtors’ Courisel (“Counsel”) notes an avenue of relief available
under rule 59 of the Federal Rules of Civil Procedure.

3, Counsel notes “clear error of law”. This is satisfied as per the numerous cases
cited regarding the longstanding precedent of parties with pecuniary interest being granted
standing as Party of Interest, as well as the clarification provided by the recent Supreme Court

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decision, as cited.

4, Counsel notes “an intervening change in controlling law”. A key case cited in the

21-61491-tnap Doc378 FILED 08/23/24 ENTERED 08/23/24 13:32:51 Page 1of5
Motion for Reconsideration was just decided by the U.S. Supreme Court on June 6, 2024, so
meets this criterion.

5. Counsel also notes “a need to prevent manifest injustice”. This is also applicable:
if the Order prevails then $215,000 will be lost to the Unsecured Creditors (substantial evidence
indicates they are the victims of Racketeering perpetrated by the Debtor-in-Possession) and is
shown to unjustly enrich wrongdoers.

6. Finality of Judgments: While finality is important, it should not come at the
expense of justice. The Movant's request aims to ensure a fair outcome without undermining the
judicial process.

7. The Movant is not merely rehashing previous arguments but is presenting legal
interpretations that were not considered. Movant had researched Party of Interest criteria prior
to commencing with the initial Motion and was convinced of solid standing. Standing was
challenged by Ms. Zurn’ at the initial hearing and the challenge was believed to have been
dismissed by the Court; Movant was then allowed to speak before the Court at that hearing. A
subsequent hearing was cancelled on the scheduled date and the Order was issued without the
opportunity to present prepared arguments, leaving this Motion for Reconsideration as the only
available avenue to confront the issue.

8. For the sake of Justice, the allocation of insurance proceeds cannot stand. The
Objection serves to draw attention to relevant evidence, within a broader context of wrongdoing.
All parties, including the Court, have access to the source evidence and can verify its
authenticity. Allocating funds as currently indicated would result in a gross injustice. The need
to revisit this allocation is apparent and additional actions mandated by 18 U.S.C. §§ 3057, 152,

1519, and 3571 and/or other relevant laws and statutes.

21-61491-tnap Doc378 FILED 08/23/24 ENTERED 08/23/24 13:32:51 Page 2of5

9. If the allocation of insurance proceeds survives, then the Court should consider
independent action, including conversion to Chapter 7 to remove the Debtor-in-Possession and

proceedings to recover wrongfully allocated funds.

The Movant respectfully requests that the Court:
e Grant the Motion for Reconsideration to address the outlined issues.
e Review the court filings and evidence, and refer matters for prosecution as deemed
appropriate,
e Halt the disbursement of Insurance Proceeds and examine the facts surrounding the
Insurance Settlement to ensure a just allocation of funds.

Dated: August 15th, 2024
Respectfully submitted, /]

Pau}! Billinger
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21-61491-tnap Doc378 FILED 08/23/24 ENTERED 08/23/24 13:32:51 Page 3of5

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing reply to the objection filed by Squirrels
Research Labs LLC and The Midwest Data Company LLC regarding the Motion for
Reconsideration of the Order Approving Allocation of Proceeds of Compromise and Settlement
Between Debtors and Cincinnati Insurance Company was served by USPS mail on August 15",
2024.

Served on:

1. U.S. Bankruptcy Court
Ralph Regula Federal Building and U.S. Courthouse
401 McKinley Avenue, SW

Canton, Ohio-44702

With an emailed copy to Julie K. Zurn on August 15", 2024:
Julie K. Zurn

Brouse McDowell LPA

388 S. Main Street, Suite 500

Akron, Ohio 44311

jzurn@brouse.com

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21-61491-tnap Doc378 FILED 08/23/24 ENTERED 08/23/24 13:32:51 Page 4of5

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21-61491-tnan Doc378 FILED 08/23/24 ENTERED 08/23/24 13:32:51 Page 5of5
